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                  UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
________________________________________________________________________

April Cosman,                                  Case No. 0:21-cv-674-PAM/ECW

             Plaintiff,
                                             STIPULATION FOR DISMISSAL
      vs.                                         WITH PREJUDICE

JPMorgan Chase Bank, N.A.,

           Defendant.
________________________________________________________________________

      IT IS HEREBY STIPULATED AND AGREED by and among Plaintiff April

Cosman and Defendant JPMorgan Chase Bank, N.A. (“Chase”), by and through

their undersigned attorneys, that all claims by Plaintiff against Chase shall be

dismissed with prejudice, on their merits, and in their entirety, and without an

award of costs, disbursements, or attorneys’ fees to either Plaintiff or Chase.


Dated: August 26, 2021                       WALKER & WALKER LAW
                                             OFFICES PLLC


                                             By: s/ Kimberly Zillig_____________
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                                        DYKEMA GOSSETT PLLC


Dated: August 26, 2021                  By: s/ Kristina H. Kaluza__________
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